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                                    STATEMENT OF FACTS

       On or about August 11, 2023, four Metropolitan Police Department (“MPD”) Officers were

on routine patrol in a marked police vehicle and in full uniform. The four officers were driving

through the 300 block of Livingston Terrace, Southeast, facing the 4300 block of 3rd Street,

Southeast. Officers noticed two male subjects, one who was wearing a blue shirt, later identified

as Timothy Eugene Taylor (“Taylor”), standing in front of 4329 3rd Street, Southeast. Taylor was

wearing a black satchel bag strapped across his torso, with the bag hanging by his hip, which was

facing the street and the MPD Officers.

       One of the MPD Officers noticed a distinct “L” shape protruding through Taylor’s satchel

bag and notified the other officers in the vehicle. Officers know through training, knowledge and

experience that people commonly use these satchel bags to carry firearms and the “L” shape was

possible the outline of a firearm. After noticing the outline, the officer driving the vehicle

conducted a U-turn to make contact with Taylor. As officers pulled up next to Taylor in the marked

vehicle, he moved his satchel from his right hip to his left hip, with the bag no longer facing the

street and bladed his body by offsetting his left back leg at an angle, removing the satchel from the

officers’ view. Taylor was asked, “Hey Sir, do you have a gun in your bag?” Taylor replied, “No,

I live right here,” and pointed to 4329 3rd Street, Southeast.

       After inquiring about the firearm, officers exited the vehicle to get a better look at Taylor’s

satchel, which was still concealed on his left hip. As soon as the officers exited the vehicle, Taylor

took flight and ran inside of 4320 3rd Street, Southeast, and towards the second floor. Officers

were able to stop Taylor on the second-floor landing as he tried to open a random locked apartment

door. Once Taylor was stopped, an officer conducted a protective pat-down of Taylor’s satchel

and felt the distinct shape of a firearm.
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       A search of Taylor’s bag revealed, a Smith and Wesson M&P 2.0 handgun, Serial Number

NCU9682, with an extended magazine, loaded with 22 rounds of ammunition, one large vial of

suspected liquid PCP, and 2 small vials of suspected liquid PCP. Additionally, $279.36 U.S.

Currency was found on Taylor. At this point, Taylor was placed under arrest and transported to

the Seventh District for processing.

       The firearm appeared to be fully functional and was designed to expel a projectile by the

action of an explosive. A WALES/NCIC inquiry was conducted on the firearm, revealing that the

firearm was unregistered. The firearm and ammunition in this case were manufactured outside the

District of Columbia, and therefore traveled in interstate commerce.

       While Taylor was in custody, a criminal history check was conducted, and it revealed that

he has prior felony convictions, including a conviction from United States District Court for the

District of Columbia on October 21, 2020, for Unlawful Possession of a Firearm and Ammunition

by a Person Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year,

in violation of 18 U.S.C. § 922(g), in Case Number 20-CR-000101. As Taylor was sentenced to

35 months of imprisonment, and spent time in prison, Taylor was aware at the time of his arrest in

this case that he had prior convictions for crimes punishable by a term of imprisonment exceeding

one year.




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       Taylor’s knowledge of his firearm disability is further established in the subsequent, post-

arrest interview that was conducted. During this interview, Taylor confessed that he ran from the

officers because he knew he had a firearm. Further, Taylor confessed that he possessed the firearm

for his own protection. He also admitted that he possessed and sold PCP for purposes of profit.




                                             _________________________
                                             Officer Marcus Harmon
                                             Badge Number 2760
                                             METROPOLITIAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th Day of November 2023.




                                             _____________________________________
                                             HONORABLE ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE




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